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             IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

                                        )
IN RE:                                  )     CHAPTER 7
                                        )
NEWPORT 222 MITCHELL                    )     CASE NO. 24-54060-SMS
STREET, L.P.,                           )
                                        )
                  Debtor.               )

             MOTION FOR RELIEF FROM AUTOMATIC STAY

      COMES NOW, Balfour Beatty Construction, LLC (“Balfour”) and pursuant

to 11 U.S.C. § 362(d) and Rules 4001 and 9014 of the Federal Rules of Bankruptcy

Procedure, files this Motion for Relief from Automatic Stay in the bankruptcy

proceedings of Newport 222 Mitchell Street, L.P. (“Debtor”), showing the Court as

follows:

      1.    This is a motion under 11 U.S.C. § 362(d) of the Bankruptcy Code for

relief from the automatic stay to allow Balfour to proceed with litigation against

the Debtor in litigation filed in the Superior Court of Gwinnett County, Georgia,

styled Balfour Beatty Construction, LLC v. Newport 222 Mitchell Street, L.P., et.

al, Case No. 23-A-05346-2, filed June 20, 2023 (the “Gwinnett Action”). A true

and correct copy of the Complaint filed in the State Court Action is attached hereto

as Exhibit A.
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                         JURISDICTION AND VENUE

        2.   This Court has jurisdiction to consider this matter pursuant to 28

U.S.C. §§157 and 1334.

        3.   This matter is a “core” proceeding within the meaning of 28 U.S.C. §

157.

        4.   Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and

1409.

        5.   The statutory basis for the relief requested herein is 11 U.S.C. §

362(d) of the Bankruptcy Code.

                          FACTUAL BACKGROUND

        6.   The Gwinnett Action arises out of a construction contract between

Bafour as general contractor, and Debtor as owner (the “Contract”). A true and

correct copy of the Contract is attached hereto as Exhibit B.

        7.   The Contract involved improvements to the real estate then owned by

Debtor, at 222 Mitchell Street, Atlanta, Georgia 30303 (the “Property”) with the

contract sum being $40,400,096.

        8.   At the time work was performed on the Property, Debtor was the

owner of the Property.




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       9.    Balfour and its subcontractors performed improvements to the

Property, but partway through the construction project Debtor stopped paying for

the work yet insisted that funding would be forthcoming. The unpaid amount of

work performed totals $11,061,178.98.

       10.   Debtor’s failure to pay for the work performed is a contractual default

and breach of Contract. Balfour is also entitled to interest and its unearned contract

fee pursuant to the Contract.

       11.   Balfour filed a lien on the Property, in the amount of $10,942,292.19.

A true and correct copy of the lien is attached hereto as Exhibit C.

       12.   Balfour subsequently learned that at the time Debtor entered into the

Contract, Debtor did not have the funds to pay for the improvements, yet Debtor

continually induced Balfour to continue work based on representations that money

was going to be coming.

       13.   The Gwinnett Action alleges that Debtor, through its officers and

representatives, fraudulently induced Balfour to perform work without intending to

pay.

       14.   In addition to Debtor, the Gwinnett Action also named Debtor’s

equity owner as a defendant and included several john doe defendants to stand in

the place of Debtor’s controlling members.

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      15.    Between the time that Balfour filed the Gwinnet Action, and the time

Debtor filed the Chapter 7 Petition, Debtor’s lender foreclosed on the Property,

subject to Balfour’s lien.

      16.    At the time Debtor filed its Chapter 7 Petition, discovery was

underway as Balfour sought information including, inter alia, identities and

activities of the managers and officers of Debtor relating to fraudulent

representations and actions on behalf of Debtor.

      17.    When Debtor filed its Chapter 7 Petition, a corporate representative

deposition of Debtor was set to take place the following day.

      18.    It is Balfour’s belief that the filing of the Chapter 7 Petition was filed,

at least in part, to halt discovery in the Gwinnett Lawsuit to prevent Debtor’s

forced disclosure of its shareholders who fraudulent induced Balfour into

performing over $11,000,000 worth of work for which Debtor had no intent to pay.

      19.    It is Balfour’s good faith belief that Debtor (which was a single asset

LLC that no longer has any interest in that single asset) filed for bankruptcy to stop

investigation and discovery into Debtor’s officers and directors’ actions.

      20.    Debtor has disclosed that it has zero assets, therefore it is probable

that Debtor has filed for bankruptcy to shield investigation into the actions of its

officers and directors.

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        21.     Balfour wishes to pursue discovery regarding the actions of non-

debtor entities and individuals, but to do so, Balfour first needs to commence the

deposition of Debtor’s corporate representative.

                                 REQUEST FOR RELIEF

   I.         The Automatic Stay Should Be Terminated Pursuant to Bankruptcy
              Code § 362(d)(2) and (3) to Allow Balfour to Foreclose its Lien
              Against the Property.

        22.     Balfour’s claim in this Bankruptcy is secured by its lien against the

Property. As part of the Gwinnett Action, Balfour sought to foreclose its lien.

        23.     In order to foreclose its lien on the Property, Balfour needs a judgment

from the Superior Court that its lien is valid and may be foreclosed.

        24.     Debtor identified its business as a Single Asset Real Estate as defined

in 11 U.S.C. § 101(51B). See Doc. 1, p.2.

        25.     Relief from the stay is appropriate where “the debtor does not have an

equity in such property; and such property is not necessary to an effective

reorganization.” 11 U.S.C. § 362(d)(2).

        26.     Relief from the stay must be granted as to Single Asset Real Estate

under 11 U.S.C. § 362(d)(3) where the Debtor has not filed a plan of reorganization

or commenced monthly payments in an amount equal to interest on Balfour’s




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interest in the real estate. In re Glob. One, L.L.C., 411 B.R. 524, 528–29 (Bankr.

S.D. Ga. 2009).

      27.    Separately, the automatic stay does not apply to actions against

property of the estate where “such property is no longer property of the estate.” 11

U.S.C. § 362(c)(1).

      28.    Per Debtor’s disclosures in this Bankruptcy, Debtor has no property

interest in the Property as an asset – as Debtor’s lender foreclosed on Debtor’s loan

prior to the bankruptcy petition subject to Balfour’s lien. Because Debtor disclosed

no property interest in the Property, Debtor has no equity in this property.

      29.    Second, the Property is not necessary to an effective reorganization.

Debtor has filed a chapter 7 bankruptcy case, and thus reorganization is not in

prospect.

      30.    The estate would not be prejudiced by Balfour continuing its lien

foreclosure action in the Gwinnett Action, because Debtor does not have any

interest in the Property.

      31.    Balfour would suffer prejudice if relief from the stay is not granted,

because there is no adequate protection to Balfour’s interest in property within the

power of the bankruptcy court, because the Property is no longer owned by Debtor.




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            32.     As independent basis for relief from the stay, the Court may grant

relief from the stay for cause “including the lack of adequate protection of an

interest in property of such party in interest.” 11 U.S.C. 362(d)(1).

            33.     As such, Balfour is entitled to relief from automatic stay pursuant to §

362(d)(1) and (2) for the purpose of pursuing its lien foreclosure action against the

Property.

      II.         The Court Should Provide Relief from the Stay with Respect to the
                  Gwinnett Action to Allow Discovery to Continue to Discover Fraud.

            34.     This Court has authority to grant relief from the automatic stay for

cause. 11 U.S.C. § 362(d)(1).

            35.     When evaluating whether to lift the automatic say so a party may

continue litigation in another forum, courts in the 11 th Circuit use a balancing test

with a number of different factors. See e.g. In re R.J. Groover Const., LLC, 411

B.R. 473, 477 (Bankr. S.D. Ga. 2008).1


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    … courts have considered numerous factors:
(1) whether relief would result in a partial or complete resolution of the issues;
(2) lack of any connection with or interference with the bankruptcy case;
(3) whether the other proceeding involves the debtor as a fiduciary;
(4) whether a specialized tribunal with the necessary expertise has been established to hear the
cause of action;
(5) whether the debtor's insurer has assumed full responsibility for defending it;
(6) whether the action primarily involves third parties;
(7) whether litigation in another forum would prejudice the interests of other creditors;
(8) whether the judgment claim arising from the other action is subject to equitable
subordination;
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       36.     One of the crucial factors to consider is whether the action primarily

involves third parties. Id.

       37.     In this case, the Gwinnett Action is focused on the actions of Debtor’s

officers, representatives, and other related entities.

       38.     No other parties would be prejudiced if this dispute is litigated in

Superior Court, as no creditor is expected to receive any distribution under

Debtor’s current disclosures.

       39.     It would be in the interest of judicial economy to resolve the dispute

in a single lawsuit, rather than a separate adversary proceeding against Debtor, and

then a state-court lawsuit against Debtor’s officers, representatives, and other

related entities.

       40.     Discovery targeting non-debtors is more appropriately brought in the

Superior Court of Gwinnett County, rather than in an adversary proceeding before

this Court.

       41.     By this Motion, Balfour also respectfully requests the entry of an

order pursuant to § 104(a) of the Bankruptcy Code and Rule 9006(c)(1) of the


(9) whether movant's success in the other proceeding would result in a judicial lien avoidable by
the debtor;
(10) the interests of judicial economy and the expeditious and economical resolution of
litigation;
(11) whether the parties are ready for trial in the other proceeding; and
(12) impact of the stay on the parties and the balance of the harms.
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Federal Rules of Bankruptcy Procedure to shorten applicable notice periods and to

schedule a hearing on an expedited basis to consider this Motion.

      42.   Notice of this Motion has been provided to the Office of the United

States Trustee, counsel to the Debtors, and counsel for each party having made a

notice of appearance in the Gwinnett Action. In light of the nature of the relief

requested, Balfour submits that no further notice is necessary and requests the

Court’s approval of this procedure.

      WHEREFORE, Balfour respectfully requests that this honorable Court grant

an Order allowing relief from the automatic stay to allow Balfour to resume

prosecution of the Gwinnett Action, specifically including the cause of action to

foreclose its Lien, and to pursue discovery from debtor and non-debtor entities.

      Respectfully submitted, this 22nd day of May, 2024.

                                      HUDSON LAMBERT PARROTT, LLC

                                      /s/ Alexander J. Bell
3575 Piedmont Road                    Kevin H. Hudson
Building 15, Suite 200                Georgia Bar No. 374630
Atlanta, Georgia 30305                Zachary R. Hall
Telephone: (404) 554-8166             Georgia Bar No. 397354
Facsimile: (404) 554-8171             Alexander J. Bell
Email: khudson@hlpwlaw.com            Georgia Bar No. 282562
Email: zhall@hlpwlaw.com              Attorneys for Creditor
Email: abell@hlpwlaw.com              Balfour Beatty Construction, LLC


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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the I electronically filed the foregoing Motion for

Relief from Automatic Stay using the Bankruptcy Court’s Electronic Case Filing

program which sends a notice of and an accompanying link to this document to all

parties who have appeared in this case.

      This 22nd day of May, 2024


                                      HUDSON LAMBERT PARROTT, LLC

                                      /s/ Alexander J. Bell
3575 Piedmont Road                    Kevin H. Hudson
Building 15, Suite 200                Georgia Bar No. 374630
Atlanta, Georgia 30305                Zachary R. Hall
Telephone: (404) 554-8166             Georgia Bar No. 397354
Facsimile: (404) 554-8171             Alexander J. Bell
Email: khudson@hlpwlaw.com            Georgia Bar No. 282562
Email: zhall@hlpwlaw.com              Attorneys for Creditor
Email: abell@hlpwlaw.com              Balfour Beatty Construction, LLC




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